  Case 23-18416-JNP                Doc 20 Filed 10/14/23 Entered 10/15/23 00:14:43                               Desc Imaged
                                        Certificate of Notice Page 1 of 3
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 23−18416−JNP
                                         Chapter: 13
                                         Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Ethan Warren
   6 Spring Hill Drive
   Laurel Springs, NJ 08021
Social Security No.:
   xxx−xx−5994
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE


      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 10/11/23.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: October 11, 2023
JAN: kvr

                                                                       Jeanne Naughton
                                                                       Clerk
      Case 23-18416-JNP                     Doc 20 Filed 10/14/23 Entered 10/15/23 00:14:43                                              Desc Imaged
                                                 Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-18416-JNP
Ethan Warren                                                                                                           Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Oct 12, 2023                                               Form ID: 148                                                               Total Noticed: 6
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 14, 2023:
Recip ID                 Recipient Name and Address
db                     + Ethan Warren, 6 Spring Hill Drive, Laurel Springs, NJ 08021-2829
520035819                Selene Finance, 100 Grove Rd., Thorofare, NJ 08086

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Oct 13 2023 02:16:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Oct 13 2023 02:16:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
cr                     + Email/Text: RASEBN@raslg.com
                                                                                        Oct 13 2023 02:15:00      U.S. Bank Trust National Association, Robertson,
                                                                                                                  Anschutz, Schneid, Crane, 13010 Morris Rd.,
                                                                                                                  Suite 450, Alpharetta, GA 30004-2001
520043361              + Email/Text: RASEBN@raslg.com
                                                                                        Oct 13 2023 02:15:00      U.S. Bank Trust National Association, Robertson,
                                                                                                                  Anschutz, Schneid, & Crane PL, 13010 Morris
                                                                                                                  Rd., Suite 450, Alpharetta, GA 30004-2001

TOTAL: 4


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 14, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
       Case 23-18416-JNP                  Doc 20 Filed 10/14/23 Entered 10/15/23 00:14:43                                       Desc Imaged
                                               Certificate of Notice Page 3 of 3
District/off: 0312-1                                              User: admin                                                            Page 2 of 2
Date Rcvd: Oct 12, 2023                                           Form ID: 148                                                          Total Noticed: 6
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 11, 2023 at the address(es) listed
below:
Name                             Email Address
Andrew B Finberg
                                 jdesantis@standingtrustee.com

Kimberly A. Wilson
                                 on behalf of Creditor U.S. Bank Trust National Association kimwilson@raslg.com

U.S. Trustee
                                 USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 3
